Case 2:20-cv-09091-PA-AS Document 148 Filed 10/15/21 Page 1 of 3 Page ID #:7034



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 7   Attorneys for Defendant Thrive
     Causemetics, Inc.
 8
 9                             UNITED STATES DISTRICT COURT
10                            CENTRAL DISTRICT OF CALIFORNIA
11
     THRIVE NATURAL CARE, INC.,                  Case No. 2:20-cv-9091-PA-AS
12
                 Plaintiff,
13                                               NOTICE OF DEFENDANT’S JOINT
           v.                                    MOTION IN LIMINE NO. 1
14
     THRIVE CAUSEMETICS, INC.,                   Hearing Date: November 1, 2021
15                                               Time:         1:30 p.m.
                 Defendant.
16                                               Trial Date:   November 9, 2021
                                                 Time:         9:00 a.m.
17                                               Place:        Courtroom 9A
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                     NOTICE OF DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 148 Filed 10/15/21 Page 2 of 3 Page ID #:7035



 1         TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that on November 1, 2021, at 1:30 p.m., or as soon
 3   thereafter as the matter may be heard, before the Honorable Percy Anderson in
 4   Courtroom 9A (9th Floor) of the above-entitled court, located at 350 W. 1st Street, Los
 5   Angeles, California 90012, Defendant Thrive Causemetics, Inc. (“TCI”) will and
 6   hereby does move in limine, pursuant to Federal Rules of Evidence 602, 701, 702, and
 7   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), for an order
 8   precluding Plaintiff Thrive Natural Care, Inc. (“Plaintiff”) from offering at trial and
 9   evidence or argument regarding speculative assertions of harm. If the motion is not
10   granted, TCI will suffer prejudice because 1) it will have been denied the opportunity
11   to investigate Plaintiff’s claims of actual damages because this theory of damages was
12   disclosed after the close of discovery and 2) any claims of actual damages would be
13   purely speculative and TCI would have no reasonable basis on which to base its defense.
14         This Motion is based upon this Notice of Motion, the attached Joint Motion in
15   Limine that contains the parties’ respective contentions and memoranda of law,
16   Declaration of Lauren M. De Lilly and the exhibits attached thereto, and the record,
17   files, and pleadings in this action, and such other further arguments and supporting
18   matters as may be presented at or before the time of hearing.
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                     NOTICE OF DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
Case 2:20-cv-09091-PA-AS Document 148 Filed 10/15/21 Page 3 of 3 Page ID #:7036



 1   DATED: October 15, 2021           SIDLEY AUSTIN LLP
 2                                     By: /s/ Rollin A. Ransom
                                       Rollin A. Ransom
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 4                                     Attorneys for Defendant Thrive
                                       Causemetics, Inc.
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                   NOTICE OF DEFENDANT’S JOINT MOTION IN LIMINE NO. 1
